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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                    Holding a Criminal Term

                              Grand Jury Sworn in on July 6, 2017


  UNITED STATES OF AMERICA                              CRIMINAL NO.

               V.                                       UNDER SEAL

  JOAQUIN GUZMAN LOPEZ, also                            21 U.S.C. §§959(a), 960, and 963
  known as "EL GUERO," "GUERO                           (Conspiracy to distribute five kilograms or
  MORENO," and "MORENO"                                 more of cocaine, 500 grams or more of
                                                        methamphetamine, and 1,000 kilograms of
  and                                                   marijuana for importation into the United
                                                        States)
  OVIDIO GUZMAN LOPEZ, also
  known as "EL RATON" and "RATON :                      18 U.S.C. § 2 (Aiding and Abetting
  NUEVO"
                                                        21 U.S.C. §§ 853 and 970
              Defendants.                               (Forfeiture)



                                         INDICTMENT

        The Grand Jury charges that:

                                          COUNT ONE

        From in or around April of 2008, and continuing thereafter, up to and including the date of

this Indictment, the exact dates being unknown to the Grand Jury, in the countries of Mexico, the

United States and elsewhere, the defendants, JOAQUIN GUZMAN LOPEZ, also known as "EL

GUERO," "GUERO MORENO," and "MORENO," and OVIDIO GUZMAN LOPEZ, also known

as "EL RATON" and "RATON NUEVO," and others known and unknown to the Grand Jury, did

knowingly, intentionally, and willfully combine, conspire, confederate and agree to distribute: (1)

five (5) kilograms or more of a mixture or substance containing a detectable amount of cocaine, a
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Schedule II controlled substance; (2) five hundred (500) grams or more of a mixture or substance

containing a detectable amount of methamphetamine, a Schedule II controlled substance; and (3)

one thousand (1,000) kilograms or more of a mixture or substance containing a detectable amount

of marijuana, a Schedule I controlled substance, intending and knowing that such substances would

be unlawfully imported into the United States from a place outside thereof, in violation of Title

21, United States Code, Section 959(a); all in violation of Title 21, United States Code, Section

963, and Title 18, United States Code, Section 2.

       With respect to the defendants, the controlled substances involved in the conspiracy

attributable to the defendants as a result of their own conduct, and the conduct of other conspirators

reasonably foreseeable to them, is five (5) kilograms or more of a mixture or substance containing

a detectable amount of cocaine, five hundred (500) grams or more of a mixture or substance

containing a detectable amount of methamphetamine, and one thousand (1,000) kilograms or more

of a mixture or substance containing a detectable amount of marijuana, in violation of Title 21,

United States Code, Section 960(b)(1)(B)(ii), 960(b)(1)(1T), 960(b)(1)(G).

       (Conspiracy to Distribute 5 Kilograms or More of Cocaine, 500 Grams or More of
       Methamphetamine, and 1,000 Kilograms or More of Marijuana, Intending and
       Knowing that such substances will be Unlawfully Imported into the United States,
       in violation of Title 21, United States Code, Sections 959(a) and 963, and aiding
       and abetting in violation of Title 18, United States Code, Section 2.)

                                 FORFEITURE ALLEGATION

       The United States hereby gives notice to the defendants that upon conviction of the Title

21 offense alleged in Count One of this Indictment, the Government will seek forfeiture in

accordance with Title 21, United States Code, Sections 853 and 970, of all property constituting

or derived from any proceeds the defendants obtained directly or indirectly as the result of the


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alleged Title 21 violation, and all property used or intended to be used in any manner or part to

commit, and to facilitate the commission of such offense.

       If any of the above-described forfeitable property, as a result of any act or omission of the

defendants:

               (a)    cannot be located upon the exercise of due diligence;

               (b)    has been transferred or sold to, or deposited with, a third person;

               (c)    has been placed beyond the jurisdiction of the Court;

               (d)    has been substantially diminished in value; or

               (e)    has been commingled with other property which cannot be subdivided

                      without difficulty;




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it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) to

seek forfeiture of any other property of the said Defendant up to the value of the above forfeitable

property.

       (Criminal Forfeiture, in violation of Title 21, United States Code, Sections 853 and
       970.)


                                                      A TRUE BILL:




                                                      AS(WYA T
                                                      Chief
                                                      Narcotic and Dangerous Drug Section
                                                      U.S. Department of Justice
                                                      Washington, D.C. 20530

                                                                                 „
                                              By:                                --
                                                      ANTHONY T. AMINOFF
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                                                      Narcotic and Dangerous Drug Section
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